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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiffs,                                    4:16CR3038

       vs.
                                                                       ORDER
OSCAR J. GARCIA, MARILYN M. PRADO,
CRISTOBAL I. YUCUPICIO, VICTOR M.
AVALOS, AND CAROLINA B. LARA,

                      Defendants.


        Defendants Prado, Lara and Avalos have moved to continue the pretrial motion deadline,
(filing nos. 76, 77, and 78), because, due to the volume of discovery at issue, the defendants and
defense counsel need additional time to fully review the discovery received before deciding if
pretrial motions should be filed. The motion to continue is unopposed. Based on the showing
set forth in the motion, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)      Defendants’ motions to continue, (filing nos. 76, 77, and 78), are granted.

       2)      As to all defendants, pretrial motions and briefs shall be filed on or before May
               31, 2016.

       3)      As to all defendants, trial of this case is continued pending resolution of any
               pretrial motions filed.

       4)      The ends of justice served by granting the motion to continue outweigh the
               interests of the public and the defendant in a speedy trial, and

               a.     As to all defendants, the additional time arising as a result of the granting
                      of the motion, the time between today’s date and May 31, 2016, shall be
                      deemed excludable time in any computation of time under the
                      requirements of the Speedy Trial Act, because although counsel have been
                      duly diligent, additional time is needed to adequately prepare this case for
                      trial and failing to grant additional time might result in a miscarriage of
                      justice. 18 U.S.C. § 3161(h)(1), (h)(6) & (h)(7).

               b.     Failing to timely object to this order as provided in the court’s local rules
                      will be deemed a waiver of any right to later claim the time should not
                      have been excluded under the Speedy Trial Act.

       April 28, 2016.                               BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
